Case 23-11069-CTG   Doc 371-4   Filed 08/30/23   Page 1 of 5




                       EXHIBIT C

                    Doheny Declaration
                  Case 23-11069-CTG             Doc 371-4        Filed 08/30/23        Page 2 of 5




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al., 1                                    )     Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )     (Jointly Administered)
                                                                     )

                             DECLARATION OF
             MATTHEW A. DOHENY IN SUPPORT OF THE DEBTOR’S
             APPLICATION FOR THE ENTRY OF AN ORDER AUTHORIZING
         THE RETENTION AND EMPLOYMENT OF KIRKLAND & ELLIS LLP
      AND KIRKLAND & ELLIS INTERNATIONAL LLP AS ATTORNEYS FOR THE
     DEBTORS AND DEBTORS IN POSSESSION EFFECTIVE AS OF AUGUST 6, 2023

             I, Matthew A. Doheny, Chief Restructuring Officer of Yellow Corporation being duly

sworn, state the following under penalty of perjury:

             1.   I am the Chief Restructuring Officer of Yellow Corporation located at 11500 Outlook

Street, Suite 400, Overland Park, Kansas 66211.

             2.   I submit this declaration (this “Declaration”) in support of the Debtors’ Application

for Entry of an Order Authorizing the Retention and Employment of Kirkland & Ellis LLP as

Attorneys for the Debtors and Debtors in Possession Effective as of August 6, 2023
                         2
(the “Application”).         Except as otherwise noted, I have personal knowledge of the matters set

forth herein.




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.
             Case 23-11069-CTG          Doc 371-4      Filed 08/30/23     Page 3 of 5




                               The Debtors’ Selection of Counsel

       3.      The Debtors recognize that a comprehensive review process is necessary when

selecting and managing chapter 11 counsel to ensure that bankruptcy professionals are subject to

the same client-driven market forces, scrutiny, and accountability as professionals in

non-bankruptcy engagements.

       4.      The Debtors have a long-standing relationship with Kirkland, having first engaged

Kirkland in 2008, to advise on a variety of matters. Accordingly, the Debtors determined that

Kirkland possessed the expertise in relevant legal issues that the Debtors required in potential

bankruptcy counsel.

       5.      Ultimately, the Debtors retained Kirkland because of its extensive experience in

corporate reorganizations, both out-of-court and under chapter 11 of the Bankruptcy Code. More

specifically, Kirkland is familiar with the Debtors’ business operations and many of the potential

legal issues that may arise in the context of these chapter 11 cases. I believe that Kirkland is both

well qualified and uniquely able to represent the Debtor in these chapter 11 cases in an efficient

and timely manner.

                                          Rate Structure

       6.      In my capacity as Chief Restructuring Officer, I am responsible for supervising

outside counsel retained by the Debtors in the ordinary course of business. Kirkland has informed

the Debtors that its rates for bankruptcy representations are comparable to the rates Kirkland

charges for non-bankruptcy representations. As discussed below, I am also responsible for

reviewing the statements regularly submitted by Kirkland, and can confirm that the rates Kirkland

charged the Debtors in the prepetition period are the same as the rates Kirkland will charge the

Debtors in the postpetition period.


                                                 2
             Case 23-11069-CTG          Doc 371-4      Filed 08/30/23      Page 4 of 5




                                         Cost Supervision

       7.      The Debtors have approved the prospective budget and staffing plan for the period

from August 6, 2023 to December 1, 2023, recognizing that in the course of a large chapter 11

case like these chapter 11 cases, it is possible that there may be a number of unforeseen fees and

expenses that will need to be addressed by the Debtors and Kirkland. The Debtors further

recognize that it is their responsibility to monitor closely the billing practices of their counsel to

ensure the fees and expenses paid by the estate remain consistent with the Debtors’ expectations

and the exigencies of the chapter 11 cases. The Debtors will continue to review the statements

that Kirkland regularly submits, and, together with Kirkland, amend the budget and staffing plans

periodically, as the case develops.

       8.      As they did prepetition, the Debtors will continue to bring discipline, predictability,

client involvement, and accountability to the counsel fees and expenses reimbursement process.

While every chapter 11 case is unique, these budgets will provide guidance on the periods of time

involved the level of the attorneys and professionals that will work on various matters, and

projections of average hourly rates for the attorneys and professionals for various matters.



                               [Remainder of page intentionally left blank]




                                                  3
            Case 23-11069-CTG         Doc 371-4        Filed 08/30/23    Page 5 of 5




       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

 Dated: August 30, 2023                             Respectfully submitted,

                                                 /s/ Matthew A. Doheny
                                                Name: Matthew A. Doheny
                                                Title    Chief Restructuring Officer




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